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              IN THE UNITED STATES DISTRICT COURT FOR
                   THE SOUTHERN DISTRICT OF GEORGIA
                               SAVANNAH DIVISION


UNITED STATES OF AMERICA,


V.                                            Case No.     CR417-208-19


TATONYA HAILES,
                   Defendants.




      Dwight L. Thomas, counsel of record for defendant Tatonya

Hailes in the above-styled case has moved for leave of absence.

The Court is mindful that personal and professional obligations

require the absence of counsel on occasion. The Court, however,

cannot accommodate its schedule to the thousands of attorneys who

practice within the Southern District of Georgia.

      Counsel may be absent at the times requested. However, nothing

shall prevent the case from going forward; all discovery shall

proceed, status conferences, pretrial conferences, and          trial shall

not be interrupted or delayed. It is the affirmative obligation of

counsel to provide a fitting substitute.



      SO ORDERED this 21 ""day of September 2017.



     u. S. DISTRICT COURT            WILLIAM T. MOORE, JR.
     Southern District of GA         UNITED STATES DISTRICT COURT
         Filed In Office             SOUTHERN DISTRICT OF GEORGIA
                   .    -M
              HSoLzaix-
          Deputy Clerk
